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                          EXHIBIT 1




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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                         CASE NO. 9:18-CV-80176-BLOOM/REINHART


   IRA KLEIMAN, as personal representative of
   the estate of David Kleiman, and W&K INFO
   DEFENSE RESEARCH, LLC

          Plaintiffs,
   v.

   CRAIG WRIGHT,

         Defendant.
   _____________________________________/

      ORDER GRANTING MOTION TO WITHDRAW JAMES E. GILLENWATER,
    ROBERT S. GALBO, ALEXA J. ROSENSON, AND GREENBERG TRAURIG, P.A. AS
                  COUNSEL FOR DEFENDANT CRAIG WRIGHT

          THIS MATTER came before the Court upon the Motion to Withdraw James E.
   Gillenwater, Robert S. Galbo, Alexa J. Rosenson, and Greenberg Traurig, P.A. as Counsel for
   Defendant Craig Wright. The Court has carefully reviewed the Motion, the docket, and is
   otherwise fully advised in the premises. Accordingly, it is hereby:
          ORDERED AND ADJUDGED that the Motion is GRANTED. James E. Gillenwater,
   Robert S. Galbo, Alexa J. Rosenson, and Greenberg Traurig, P.A. shall be removed as counsel of
   record for Defendant Craig Wright in this case. Defendant Craig Wright shall have until July 5th,
   2024 to obtain new counsel.
          DONE AND ORDERED in Chambers in West Palm Beach, Florida, this ____ day of
   June, 2024.
                                                       ____________________________________
                                                       BETH BLOOM
                                                       United States District Court Judge

   Copies furnished to Counsel of Record




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